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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK


  IN RE HAIN CELESTIAL HEAVY                 Case No. 2:21-cv-678-JS-AYS
  METALS BABY FOOD LITIGATION




   MEMORANDUM OF LAW IN SUPPORT OF THE MOTION OF ASYIA ANDREWS
      TO APPOINT LABATON SUCHAROW AS INTERIM LEAD COUNSEL
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                                        INTRODUCTION

        Plaintiff Asyia Andrews (the “Andrews Plaintiff” or “Plaintiff”), by and through her

 undersigned counsel respectfully moves for the appointment of her counsel, Michael Canty and

 Carol Villegas of Labaton Sucharow LLP (“Labaton Sucharow” or “Proposed Interim Lead

 Counsel”) as Interim Lead Counsel pursuant to Federal Rules of Civil Procedure 23(g) so that

 they may act on behalf of the putative class while managing this consolidated action. Such

 appointment is appropriate here to provide organization structure and leadership during the

 period before class certification when important decisions, such as pre-trial motion practice,

 litigating class certification, and discovery, must be made.

        Proposed Interim Lead Counsel are well-suited to represent the class in this action.

 Labaton Sucharow has a proven ability to successfully navigate high-stakes, complex class

 actions and has shown they can litigate against some of the most sophisticated institutions in the

 world. Indeed, Proposed Interim Lead Counsel has extensive experience successfully litigating

 complex class actions and winning multimillion-dollar recoveries for class members, including

 specifically in the consumer protection context. Most recently, Labaton Sucharow was Co-Lead

 Counsel in the landmark $650 million recovery in the groundbreaking Facebook consumer

 privacy case. See In re Facebook Biometric Information Privacy Litigation, No. 15-cv-3747

 (N.D. Cal.), ECF No. 537.

        Upon learning of the alleged conduct by Hain Celestial and other baby food manufacturers,

 Proposed Interim Lead Counsel conducted a thorough investigation into the allegations. Specifically,

 Labaton Sucharow deployed its in-house investigative team on the matter. So far, Labaton

 Sucharow’s investigation has identified 60 former Hain Celestial employees all of whom may have

 relevant information regarding the conduct of Hain Celestial. Additionally, Proposed Interim Lead



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 Counsel contacted and spoke with those responsible for investigating and drafting the Congressional

 Report from The Subcommittee on Economic and Consumer Policy of the Committee on

 Oversight and Reform that served as the impetus for this action. 1 If appointed Interim Lead

 Counsel, Labaton Sucharow will continue to vigorously investigate these claims to effectively

 prosecute this action on behalf of class members. Moreover, Labaton Sucharow has the capacity to

 devote significant resources to prosecuting class actions (like this one) against the most well-

 funded defendants and understands how to do so in a manner that promotes efficiency.

                                     RELEVANT BACKGROUND

         On March 29, 2021, Plaintiff filed a class action complaint against Beech-Nut Nutrition

 Company, Gerber Products Company, Hain Celestial Group, Inc., Nurture, Inc., and Sprout

 Foods, Inc. Andrews v. Beech-Nut Nutrition Company et. al., 2:2021-cv-01704-GRB-AKT

 (E.D.N.Y)(the “Andrews Action”). Thereafter, on April 7, 2021, Plaintiff filed a Notice of

 Related Action in In Re: Baby Food Marketing, Sales Practices and Products Liability

 Litigation, 0:2021-md-02997 (JPML) (ECF No. 86). On April 13, 2021, Plaintiff filed a

 response in support of consolidation and transfer of all Related Actions2 to the Eastern District of

 New York. Id. at ECF No. 110. On May 3, 2021, Plaintiff and defendants in the Andrews

 Action filed a Joint Motion to stay proceedings in the Andrews v. Beech-Nut Nutrition Company

 matter pending the resolution of the motion to consolidate and transfer Related Actions to the

 Eastern District of New York. See Andrews v. Beech-Nut Nutrition Company et. al., at ECF No.

 10. On May 13, 2021, this Court granted the Stewart Plaintiffs’ motion to consolidate and


 1
   See Staff Report, Subcommittee on Economic and Consumer Policy of the Committee on Oversight and Reform,
 U.S. House of Representatives, Baby Foods Are Tainted with Dangerous Levels of Arsenic, Lead, Cadmium, and
 Mercury (hereinafter referred to as “Congressional Report”) (February 4, 2021) (online at:
 https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2021-02-
 04%20ECP%20Baby%20Food%20Staff%20Report.pdf).
 2
   “Related Actions” refers to cases filed in the Schedule of Actions accompanying In Re: Baby Food Marketing,
 Sales Practices and Products Liability Litigation, 0:2021-md-02997 (JPML) (ECF No. 1).


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 ordered that motions to appoint interim lead counsel shall be filed within 14 days. 3 In re Hain

 Celestial Heavy Metals Baby Food Litigation, 2:2021-cv-00678 (E.D.N.Y.) at ECF No. 47. To

 that end, Andrews Plaintiff, seeks the appointment of her counsel, Michael Canty and Carol

 Villegas of Labaton Sucharow as Interim Lead Counsel in accordance with Federal Rule of Civil

 Procedure 23(g), and further seeks the opportunity to present oral argument on this matter as may

 be permitted by the Court.4 To the extent the Court believes the appointment of multiple firms

 will serve the best interest of the Class, Labaton Sucharow has experience working with Cohen

 Milstein and Gibbs Law Group and would litigate this case effectively with those firms or any

 other firm appointed by the Court.

                                                 ARGUMENT

         I.       Labaton Sucharow Should be Appointed Interim Lead (or Co-Lead) Counsel
                  For the Proposed Class

         Federal Rule of Civil Procedure 23(g)(1)(A) provides, in relevant part, that in appointing

 class counsel the Court must consider:

         (i)      the work counsel has done in identifying or investigating potential claims in the
                  action;
         (ii)     counsel’s experience in handling class actions, other complex litigation, and the
                  types of claims asserted in the action;
         (iii)    counsel’s knowledge of the applicable law; and
         (iv)     the resources that counsel will commit to representing the class.

         Here, the Andrews Plaintiff has retained Michael Canty and Carol Villegas of Labaton

 Sucharow, both of whom have extensive experience in class action consumer protection

 litigation. As set forth below Labaton Sucharow is “adequate” under the mandatory Rule



 3
   The Andrews Action was not one the matters consolidated in the May 13 order, however, it alleges similar
 consumer fraud claims against Hain Celestial.
 4
   While Plaintiff believes that the JPML should grant the motion to consolidate and transfer all Related Actions
 against the baby food manufacturer-defendants to this Court, Plaintiff moves this Court for appointment as Interim
 Lead Counsel and reserves the right to seek further appointment should this Court deem it necessary upon resolution
 of the motion to consolidate and transfer.


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 23(g)(1)(A) considerations and appointing Labaton Sucharow as Interim Lead Counsel is in the

 best interest of the putative class.

         A.      Labaton Sucharow Worked to Develop this Case Through an Ongoing
                 Investigation into Hain Celestial and Other Baby Food Manufacturers’
                 Conduct

         Labaton Sucharow has dedicated significant time and resources to identifying and

 investigating the asserted claims against Hain Celestial and the other baby food manufacturers.

 Indeed, Proposed Interim Lead Counsel has already added value to the prosecution of this action

 by (1) conducting a robust investigation into the claims, and (2) identifying dozens of witnesses

 who may have information relevant to Hain Celestial’s conduct.

         Prior to filing of the Andrews Action, Labaton Sucharow initiated a full investigation into

 Defendant and other baby food manufacturers following the release of the Congressional Report

 on February 4, 2021. Since then, Labaton Sucharow’s in-house investigative team has designed

 and carried out a thorough investigation into Hain Celestial and other baby food manufacturers’

 conduct, which has already yielded impressive results. During the pendency of the investigation,

 Proposed Interim Lead Counsel had discussions with the one of the authors of the Congressional

 Report that was the impetus for this case. Additionally, the investigation has identified over 60

 witnesses who are former employees of Defendant, all of whom may have information to bolster

 the allegations in the Complaint. Moreover, Labaton’s investigators have begun conducting

 confidential interviews with current and former employees of Hain Celestial and other baby food

 manufacturers. These potential witnesses work or worked in a variety of roles in the baby food

 manufacturers’ supply chains and together provide a unique cross-section of the industry’s

 manufacturing and quality control processes.

         Labaton Sucharow’s dedicated in-house investigative team—one of the first in the

 Plaintiff’s class action bar—consists of six experienced investigators including a former


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 Investigative Auditor at the New York City Department of Investigation, and a former

 Investigator with the Chicago Office of the Inspector General. The team is led by Amy

 Greenbaum, Director of Investigations, a Certified Fraud Examiner who has been with Labaton

 Sucharow for over fifteen years. During this time, Amy Greenbaum has been instrumental in

 hundreds of Labaton Sucharow’s securities, antitrust, whistleblower and mass arbitration cases,

 and her development of witnesses has been frequently cited by judges throughout the country.

        All told, Labaton Sucharow’s investigation, has assisted in identifying additional avenues

 for recovery for the class, and provided Proposed Interim Lead Counsel with invaluable insight

 regarding the inner-workings of supply chains in the industry. In addition to the substantial work

 already performed, Proposed Interim Lead Counsel continues to expend considerable resources

 to identify and investigate pertinent factual and legal issues relating to the Class’ claims.

        B.      Labaton Sucharow is Experienced in Litigating Class Actions, Including
                Class Actions in this District

        Labaton Sucharow has been recognized as a leader in the field of complex litigation, and

 is one of the nation’s foremost plaintiffs’ class action law firms, having received awards and

 recognitions from leading industry publications, including Chambers & Partmers USA, The

 Legal 500 U.S., and Benchmark Litigation. See Declaration of Michael Canty, Ex. A. For the

 past decade, Labaton Sucharow was listed on The National Law Journal’s Plaintiffs’ Hot List

 and was inducted to the Hall of Fame for successive honors. Id. Labaton Sucharow has also

 been featured as one of Law360’s Most Feared Plaintiffs Firms and Class Action and Securities

 law Practice Groups of the Year, see id., and has achieved this distinction based on vigorous

 efforts representing a wide variety of plaintiffs in complex litigation on both a class and single-

 plaintiff basis, from individual consumers and small business, to large institutional investors




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 (such as banks, mutual funds, insurance companies, pension funds and health and welfare funds),

 municipalities, and corporations.

         Labaton Sucharow has significant experience serving as lead counsel, and has recovered

 more than $12 billion, including more than $1 billion in In re American International Group,

 Inc. Securities Litigation, $671 million in In re HealthSouth Securities Litigation, $624 million

 in In re Countrywide Financial Corporation Securities Litigation, and $473 million in In re

 Schering-Plough/ENHANCE Securities Litigation. Labaton Sucharow has also served as Lead

 Counsel in class actions in this district, including a class action against Defendant Hain Celestial.

 See, e.g., In Re The Hain Celestial Group Inc. Securities Litigation, 16-cv-04581-ADS-SIL

 (E.D.N.Y.), ECF No. 56; In re Cronos Group Inc. Securities Litigation, No. 2:20-CV-01310-

 ENV-SIL (E.D.N.Y.), ECF No. 35; ODS Capital LLC v. Changyou.com Limited et al., No. 1:20-

 cv-05973-KAM-RLM (E.D.N.Y.), ECF No. 9. Labaton also served as class counsel in In re

 Facebook Biometric Information Privacy Litigation, securing a landmark $650 million

 settlement. In approving the settlement, Judge Donato concluded that “class counsel achieved an

 excellent result for the class” and “recognize[d] the skill, dedication, and hard work class counsel

 brought to th[e] case and their clients.” No. 15-cv-3747 (N.D. Cal.), ECF No. 537.

         Labaton Sucharow’s recent notable lead and co-lead counsel appointments include:

            •       Marriott International Inc. Data Privacy Security Breach Litigation. In this
                    case, Labaton Sucharow was appointed as lead counsel on behalf of a class of
                    securities plaintiffs on April 29, 2019 in the coordinated consumer data breach
                    class action against Marriot international. The case follows the 2018
                    announcement that unauthorized access to the Starwood guest reservation
                    database had potentially affected up to 500 million Marriott customers and
                    further disclosures that an internal investigation revealed that there had been
                    unauthorized access to the Starwood network since 2014.

            •       In re AT&T/DirecTV Now Securities Litigation. Labaton Sucharow represents
                    Steamfitters Local 449 Pension Plan as co-lead counsel in this securities class
                    action against AT&T and multiple executives and directors of the company
                    alleging wide ranging fraud, abusive sales tactics, and misleading statements to
                    the market in regards to the streaming service, DirecTV Now.


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           •       In re PG&E Corporation Securities Litigation. Labaton Sucharow represents
                   the Public Employees Retirement Association of New Mexico as lead plaintiff
                   in a securities class action lawsuit against PG&E related to wildfires that
                   devastated Northern California in 2017.

        Other significant representations and notable successes include:

           •       In re Facebook Biometric Privacy Litigation. In a hotly litigated and closely
                   watched case alleging claims against Facebook under the Illinois Biometric
                   Information Privacy Act (BIPA), 740 Ill. Comp. Stat. 14/1 et seq. (2008),
                   Labaton Sucharow, along with its co-counsel, secured a landmark $650 million
                   settlement on behalf of Illinois Facebook users. The case raised several complex
                   legal issues, including the question of whether a statutory privacy injury was
                   sufficiently “real” and concrete to establish an injury in fact for standing under
                   Article III. Following years of discovery and extensive motion practice,
                   including class certification and summary judgment briefing, and while the case
                   was on the eve of trial, the parties agreed to resolve the matter, resulting in a
                   groundbreaking settlement for the class.

           •       In re American International Group, Inc. Securities Litigation. In one of the
                   most complex and challenging securities cases in history, Labaton, as sole Lead
                   Counsel secured more than $1 billion in recoveries on behalf of lead plaintiff
                   Ohio Public Employees’ Retirement System in a case arising from allegations
                   of bid rigging and accounting fraud. To achieve this remarkable recovery, the
                   Firm took over 100 depositions and briefed 22 motions to dismiss. The
                   settlement entailed a $725 million settlement with American International Group
                   (AIG), $97.5 million settlement with AIG’s auditors, $115 million settlement
                   with former AIG officers and related defendants, and an additional $72 million
                   settlement with General Reinsurance Corporation, which was approved by the
                   Second Circuit on September 11, 2013.

           •       In re Countrywide Financial Corp. Securities Litigation. Labaton, as sole lead
                   counsel for the New York State Common Retirement Fund and the five New
                   York City public pension funds, sued one of the nation’s largest issuers of
                   mortgage loans on behalf of a class of shareholders for fraudulent
                   misrepresentations relating to its mortgage underwriting practices. The Firm’s
                   focused investigation and discovery efforts uncovered incriminating evidence
                   that, coupled with its convincing briefing and skilled negotiation, led to a $624
                   million settlement for investors. On February 25, 2011, the court granted final
                   approval to the settlement, which is one of the top 20 securities class action
                   settlements in the history of the PSLRA.

        Critically, Labaton has also repeatedly demonstrated its willingness and ability to litigate

 complex cases through trial and appeal, to the U.S. Supreme Court if necessary, a skill

 unmatched by many firms in the plaintiffs’ class action bar. Currently, Labaton Sucharow serves

 as Lead Counsel (and Counsel to Respondents) in Goldman Sachs Group Inc. v. Arkansas

 Teacher Retirement System, No. 20-222 (2020), which is currently pending before the U.S.



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  Supreme Court and was argued on March 29, 2021. Likewise, in Amgen v. Connecticut

  Retirement Plans & Trust Funds, 133 S. Ct. 1184 (Feb. 27, 2013), Labaton Sucharow, as sole

  Lead Counsel, persuaded the Supreme Court to reject efforts to thwart the certification of a class

  of investors seeking monetary damages in a class action. Labaton Sucharow has also tried a

  number of class action cases, including, In re Real Estate Associates Limited Partnership

  Litigation, in which the firm obtained a landmark $184 million jury verdict – one in which the

  Plaintiff class, consisting of 18,000 members, recovered 100% of their damages.

         C.      Labaton Sucharow Possess Extensive Knowledge of the Relevant Law

         As detailed above, Labaton Sucharow’s institutional knowledge of the law applicable to

  the claims asserted in this action is reflected in its extensive experience and continued success

  prosecuting complex class actions.

         Notably, Labaton Sucharow’s role in prosecuting claims on behalf of consumers in the In

  re Facebook Biometric Information Privacy Litigation demonstrates the firm’s success in

  pursuing claims on a class basis and achieving landmark results in an evolving area of the law,

  against the most well-resourced Defendants. This nearly six-year litigation was extremely hard-

  fought: the parties took 19 depositions, participated in 17 hearings, and engaged in five rounds of

  dispositive motion practice. And this is not to mention the substantive trial preparation the

  parties undertook, exchanging 526 trial exhibits and eight motions in limine, and identifying 17

  trial witnesses. Indeed, while the case was on the eve of trial, the Ninth Circuit granted

  Facebook’s request for interlocutory review of the district court’s order granting Plaintiffs’

  motion for class certification and stayed the class pending the appeal. After extensive briefing

  on class certification-related issues the Ninth Circuit affirmed the district court’s rulings. Just

  days before the trial setting conference, the parties agreed to settle the action.




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         Likewise, in In re Takata Airbag Products Liability Litigation, Labaton Sucharow filed

  the first nationwide consumer class action on behalf of all persons or entities who purchased or

  acquired one of the nearly 35 million affected vehicles containing Takata-brand airbags. In

  Fishbein et al., v. All Market Inc. (Vita Coco Coconut Water Marketing Practices Litigation),

  Labaton Sucharow secured a $10 million settlement in a nationwide class action against maker of

  Vita Coco, alleging misleading and deceptive advertising. Finally, in In re Imprelis Herbicide

  Marketing, Sales Practices and Products Liability Litigation, the firm served as a lead counsel a

  class on behalf of lawn care professionals and property owners against E. I. du Pont de Nemours

  and Company for damage to trees and other vegetation caused by DuPont's herbicide Imprelis®.

  Based on the settlement agreement, DuPont agreed to arrange for the removal and replacement

  of damaged trees at no cost, and to provide additional compensation to members of the class.

         Labaton Sucharow has expert knowledge of the law governing civil procedure, including

  the rules governing class certification and discovery, based on its extensive experience

  efficiently managing complex class actions. Labaton Sucharow is thoroughly prepared to meet

  the demands of potentially extensive discovery and motion practice.


         D.      Labaton Sucharow is Willing and Able to Commit Significant Time and
                 Resources to this Case

         Proposed Interim Class Counsel has years of experience prosecuting and funding

  complex class action litigation and tremendous resources, including more than 60 attorneys. As

  demonstrated by the representative cases cited above, Labaton has routinely litigated against the

  largest Defendants represented by the best defense firms in the country to achieve significant

  results. Further, Labaton Sucharow has advanced millions of dollars to fund expenses in several

  of its cases, demonstrating a commitment to provide the resources and staffing needed to

  successfully prosecute class actions. However, Labaton Sucharow is cognizant that this case


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  needs to be litigated both effectively and efficiently, and the firm is committed to staffing the

  case leanly where appropriate and robustly when needed. This will ensure that the class receives

  the best representation while avoiding unnecessary efforts or costs.

          For example, Labaton Sucharow is well-equipped to deliver results with a robust

  infrastructure, including more than 60 full-time attorneys, paralegals, financial analysts, e-

  discovery specialists, Certified Public Accountants, and a Certified Fraud Examiner. Moreover,

  it is not just the amount of resources devoted to a case that is important, but also how those

  resources are used. Labaton Sucharow has consistently shown the ability to work efficiently and

  cooperatively with co-counsel to avoid duplicative efforts.

          In addition, the firm has shown its commitment to diversity and believe that Plaintiffs

  will be best served by a diverse group of attorneys who will bring their experience to bear for the

  benefit of the class. Courts in recent years have made a specific point of encouraging diversity

  from counsel appointed to lead class actions such as this one. See, e.g., In re: Elmiron (Pentosan

  Polysulfate Sodium) Productions Liability Litig. No. 2:20-md-02973-BRM-ESK (D.N.J.), ECF

  No. 2 (“Leadership and the committees are expected to be diverse in gender, ethnicity,

  geography, and experience.”); In re Zantac (Ranitidine) Products Liability Litig., No. 20-md-

  2924-RLR (S.D. Fl. ), ECF No. 685 (“The Court was particularly impressed by the number of

  applicants who have started their own firms, especially the number of female founding partners

  who applied for roles in this litigation.”).

          Labaton Sucharow is continually committed to developing initiatives that focus on the

  firm’s diversity and inclusion goals — which include recruiting, professional development, and

  advancement of diverse and minority candidates. In addition, in 2007, Labaton Sucharow

  launched its Women’s Initiative — a dedicated program that promotes the advancement and




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  growth of the firm’s women lawyers and staff in order to prepare them to be future leaders and to

  collaborate with industry and thought leaders to promote the advancement of women as a whole.

  This initiative is run by Carol Villegas. In recognition of the firm’s efforts, Labaton Sucharow

  has been honored and shortlisted by Chambers & Partners as Inclusive Firm of the Year and by

  Euromoney as the Best National Firm for Women in Business Law.

         In addition, Michael Canty — counsel for Plaintiff here, has significant experience

  prosecuting consumer and securities cases, including serving as one of the lead attorneys in In re

  Facebook Biometric Information Privacy Litigation. Mr. Canty has also received several

  rewards recognizing his litigation skills and successes, including from the National Law Journal

  as a “Plaintiffs’ Trailblazer” and the New York Law Journal as a “New York Trailblazer.” Prior

  to joining Labaton Sucharow, Mr. Canty was a federal prosecutor in the U.S. Attorney’s Office

  for the Eastern District of New York, where he last served as the Deputy Chief of the Office’s

  General Crimes Section. Mr. Canty also served in the Office’s National Security and

  Cybercrimes Section, and in the Long Island Section of the Office. During his time as lead

  prosecutor, Mr. Canty investigated and prosecuted complex and high-profile white collar,

  national security, and cybercrime offenses. He also previously served as an Assistant District

  Attorney for the Nassau County District Attorney’s Office, where he served in the Office’s

  Homicide Bureau. Prior to that, Mr. Canty worked as a Congressional Staff Member for the U.S.

  House or Representatives. During his time with the House of Representatives, Mr. Canty served

  on the Government Reform and Oversight Committee—coincidentally the same Committee

  responsible for the investigation into Hain Celestial’s conduct in this case. See supra note 1.

         Mr. Canty’s colleague, Carol Villegas — a Partner at Labaton Sucharow and counsel to

  Plaintiff here —holds a variety of leadership positions within the firm, including serving on the




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  firm’s Executive Committee, co-chair of the Women’s Initiative, and Chief of Compliance. Ms.

  Villegas has also received numerous rewards honoring her litigation skills and accomplishments,

  including from the National Law Journal as a “Plaintiffs’ Trailblazer” and the New York Law

  Journal as a “Top Woman in Law” and a “New York Trailblazer.” She has also been recognized

  as a “Future Star” by Benchmark Litigation and a “Next Generation Lawyer” by The Legal 500.

  Indeed, Ms. Villegas has significant experience litigating complex class actions, including

  leading Labaton Sucharow’s prosecution of numerous cases, including the Marriott International

  Inc. Data Privacy Security Breach Litigation. Ms. Villegas is also a member of the Board of

  Directors of the City Bar Justice Center, the social justice and pro bono arm of the Association of

  Bar of the City of New York, and is also very involved in planning programming for and

  speaking on diversity issues in connection with the Women in Law Section of the New York

  State Bar Association. She is a proud first generation Colombian-American and is a member of

  the Hispanic National Bar Association. Prior to joining Labaton Sucharow, Ms. Villegas served

  as the Assistant District Attorney in the Supreme Court Bureau for the Richmond County District

  Attorney's office, where she took several cases to trial.

                                            CONCLUSION

         In sum, Labaton Sucharow is well qualified to prosecute this litigation. Plaintiff

  respectfully requests that the Court appoint Labaton Sucharow as Interim Class Counsel pursuant

  to Rule 23(g) of the Federal Rules of Civil Procedure.




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  Dated: May 27, 2021
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